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                       UNITED STATES DISTRICT COURT FOR
                           THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
       v.                                     : CASE NO. 21-CR-003 (RCL)
                                              :
JACOB ANTHONY CHANSLEY,                       :
     Defendant.                               :


                            RESPONSE TO THE COURT’S
                             ORDER TO SHOW CAUSE

       The government now submits this response to the Court’s Order to Show Cause, ECF

No 27. Given that the video exhibits provided to the Court and defense were used as evidence

for the government’s opposition to the defendant’s motion for bond, the government does not

oppose filing those exhibits on the public record. With respect to the manner in which those

exhibits be made public, the government has consulted the criminal clerk’s office for this Court

and has been advised that the videos cannot be placed on the docket, because the clerk’s office

does not keep exhibit videos. However, videos could be made available upon request.




                                     Respectfully submitted,

                                     CHANNING D. PHILLIPS
                                     ACTING UNITED STATES
                                     ATTORNEY


                                        /s/
                                     KIMBERLY L. PASCHALL
                                     Assistant United States Attorney
                                     D.C. Bar 1015665
                                     U.S. Attorney’s Office
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                                     555 4th Street, N.W., Room 4116
                                     Washington, D.C. 20530
                                     202-252-2650
                                     Kimberly.Paschall@usdoj.gov




                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing has been served upon defense counsel, Al

Watkins, by email and ECF/PACER notification, on this day, March 15, 2021.


                                         /s/
                                      KIMBERLY L. PASCHALL
                                      Assistant United States Attorney




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